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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
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                                                                         10   THE PEOPLE OF THE STATE OF                                   No. C 17-06011 WHA
                                                                         11   CALIFORNIA,
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12
                                                                         13     v.                                                         ORDER DENYING LEAVE TO
                                                                                                                                           FILE BRIEF OF AMICUS
                                                                         14   BP P.L.C., et al.,                                           CURIAE

                                                                         15                  Defendants.
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                                                                         17          On March 21 — after the start of the tutorial in the above-captioned action — The

                                                                         18   Concerned Household Electricity Consumers Council filed a motion seeking leave to file an

                                                                         19   amicus curiae brief (Dkt. No. 172). Because of the timing of the motion, the parties did not

                                                                         20   have an opportunity to address it. The motion is accordingly DENIED. No further amicus

                                                                         21   submissions on the science of global warming and climate change will be accepted now that the

                                                                         22   tutorial has concluded.

                                                                         23
                                                                         24          IT IS SO ORDERED.

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                                                                         26   Dated: March 23, 2018.
                                                                                                                                  WILLIAM ALSUP
                                                                         27                                                       UNITED STATES DISTRICT JUDGE

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